                              SECOND DIVISION
                                MILLER, P. J.,
                             MARKLE and LAND, JJ.

                   NOTICE: Motions for reconsideration must be
                   physically received in our clerk’s office within ten
                   days of the date of decision to be deemed timely filed.
                              https://www.gaappeals.us/rules



                                                                   August 27, 2024




In the Court of Appeals of Georgia
 A24A0607. MILLER v. WILCOXSON.

      MILLER, Presiding Judge.

      In this wrongful death case, the decedent’s mother settled with the defendants

and voluntarily dismissed the case. The mother subsequently filed a motion for

apportionment of the settlement proceeds between herself and the decedent’s father,

and the trial court issued an order awarding three percent of the proceeds to the

father. The father appeals from the apportionment order, arguing that the court erred

by (1) ruling on the mother’s motion because the case was dismissed before the

motion was filed, and (2) awarding him only three percent of the settlement proceeds.

We conclude that the court lacked jurisdiction to rule on the apportionment motion
because the case was dismissed before the motion was filed. Accordingly, we reverse

the apportionment order.

      On January 11, 2016, 17-year-old Sariah Wilcoxson was shot and killed on an

approach to a housing complex in DeKalb County. On November 11, 2016, Sariah’s

mother Sarita Wilcoxson filed this action against the owners and operators of the

housing complex, asserting a wrongful death claim and claims based on Sariah’s

personal injuries. In April 2019, Wilcoxson entered into a settlement agreement with

the defendants resolving all asserted claims for approximately $14.7 million. After

disbursements to Wilcoxson’s attorneys and Sariah’s estate, the net settlement

proceeds for the wrongful death claim totaled approximately $7 million. Half of the

net settlement proceeds were disbursed to Wilcoxson, while the other half were placed

in escrow pending court determination as to the rightful recipient.

      Wilcoxson voluntarily dismissed this action with prejudice in May 2019. In

November 2019, Wilcoxson filed a motion for apportionment of the settlement

proceeds pursuant to OCGA § 19-7-1 (c), requesting that the trial court determine

what amount, if any, of the proceeds should be distributed to Sariah’s father Marcus




                                          2
Miller, who had not been married to Wilcoxson and had not participated in the

prosecution of the action.1

      “Under OCGA §§ 19-7-1(c) and 51-4-4, when a child (either a minor or sui

juris) dies as the result of a homicide or negligence, and the child did not leave a

spouse or children, the child’s parents have the right to recover for the full value of

the child’s life.” Baker v. Sweat, 281 Ga. App. 863, 866 (1) (637 SE2d 474) (2006). If

both parents are living but are divorced, separated, or living apart, OCGA § 19-7-1 (c)

(2) (C) provides that

      the right shall be in both parents. However, if . . . one parent refuses to
      proceed or cannot be located to proceed to recover for the wrongful
      death of a child, the other parent shall have the right to contract for
      representation on behalf of both parents, thereby binding both parents,
      and the right to proceed on behalf of both parents to recover for the
      homicide of the child with any ultimate recovery to be shared by the
      parents as provided in this subsection. Unless a motion is filed as
      provided in paragraph (6) of this subsection, such a judgment shall be
      divided equally between the parents by the judgment; and the share of an
      absent parent shall be held for such time, on such terms, and with such



      1
        Apparently, Miller has filed separate lawsuits against Wilcoxson and her
attorneys based on the prosecution and settlement of the wrongful death claim, but
these lawsuits have been dismissed.
                                           3
      direction for payment if the absent parent is not found as the judgment
      directs. . . .


OCGA § 19-7-1 (c) (6) provides that where the parents of a deceased child are

divorced, separated, or living apart,

      a motion may be filed by either parent prior to trial requesting the judge
      to apportion fairly any judgment amounts awarded in the case. Where
      such a motion is filed, a judgment shall not be automatically divided. A
      postjudgment hearing shall be conducted by the judge at which each
      parent shall have the opportunity to be heard and to produce evidence
      regarding that parent’s relationship with the deceased child. The judge
      shall fairly determine the percentage of the judgment to be awarded to
      each parent. In making such a determination, the judge shall consider
      each parent’s relationship with the deceased child, including permanent
      custody, control, and support, as well as any other factors found to be
      pertinent. The judge’s decision shall not be disturbed absent an abuse of
      discretion.


      Miller appeared in the case and argued that the motion for apportionment was

improper because the case was dismissed before it was filed. Following an evidentiary

hearing regarding each parent’s relationship with Sariah, the trial court issued an

order granting the apportionment motion and directing that three percent of the

settlement proceeds be disbursed to Miller. The court initially found that the

                                          4
apportionment motion was procedurally proper under OCGA § 19-7-1 (c) (6) because

it was filed prior to any trial, and it ultimately found that Wilcoxson had a close

relationship to, lived with, and provided for Sariah while Miller was largely absent

from her life and did not provide for her. Miller then filed this appeal.2

      1. Miller argues that the trial court erred by ruling on Wilcoxson’s motion for

apportionment because the case was dismissed before the motion was filed. We agree.

      A plaintiff may voluntarily dismiss a case without permission of the court by

filing a written notice of dismissal at any time before the first witness is sworn,

although a case shall not be automatically dismissed against a defendant’s objection

if a counterclaim has been pleaded. OCGA § 9-11-41 (a) (1) - (2); Reed v. Reed, 295 Ga.

574, 575 (1) (761 SE2d 326) (2014).

      It is well settled that the dismissal of a lawsuit generally deprives the trial
      court of jurisdiction to take further action in a case. Moreover, because
      the Civil Practice Act makes no provision for the reinstatement of an
      action after dismissal as distinguished from a recommencement, a trial



      2
         Wilcoxson has filed a motion to dismiss the appeal on the basis that Miller’s
initial appellate brief does not contain proper record citations. See Court of Appeals
Rule 25 (a) (5), (d) (1) - (2). However, after Miller was granted permission to file a
supplemental appellate brief, he filed a brief with proper record citations. Accordingly,
we deny the motion to dismiss.
                                            5
      court has no power to order reinstatement of the action after it has been
      voluntarily dismissed. Thus, a dismissal operates to divest the court of
      jurisdiction, after which the trial court has no authority to enter
      additional orders, with the possible exception of OCGA § 9-15-14
      awards, which are not at issue here. And because the dismissal divests
      the court of jurisdiction, orders entered subsequent to the dismissal are
      deemed a nullity.


(Citations and punctuation omitted.) Barnes v. Cannon, 347 Ga. App. 517, 518-519 (1)

(820 SE2d 155) (2018); see also Patel v. Patel, 342 Ga. App. 81, 91 (2) (b) (802 SE2d

871) (2017) (“Under Georgia law, the unqualified dismissal of a case terminates the

action, divests the trial court of jurisdiction to take further action in the case, and

renders all orders entered after the dismissal a mere nullity.”) (citation omitted).

      When Wilcoxson voluntarily dismissed this action, there were no other claims

or counterclaims pending. Therefore, the dismissal deprived the trial court of

jurisdiction to rule on the subsequently filed apportionment motion. See Barnes,

supra, 347 Ga. App. at 519 (trial court lacked jurisdiction to consider maternal

grandmother’s motion to intervene in paternal grandparents’ action against uninsured

motor carrier on behalf of father’s estate and minor grandchild, arising out of accident

that killed grandchild’s parents, where paternal grandparents had voluntarily


                                           6
dismissed the action after having a settlement approved, and grandmother brought the

motion two weeks after dismissal); Smith v. Mem. Med. Center, Inc., 208 Ga. App. 26,

27-29 (1) (430 SE2d 57) (1993) (where decedent’s father had voluntarily dismissed his

wrongful death action, trial court lacked jurisdiction to grant defendants’ motion for

summary judgment). “When a trial court enters a judgment where it does not have

jurisdiction, such judgment is a mere nullity and must be reversed.” (Citation and

punctuation omitted.) Gallagher v. Fiderion Group, LLC, 300 Ga. App. 434, 437 (2)

(685 SE2d 387) (2009). Because Wilcoxson’s voluntary dismissal of the action

terminated the case and deprived the trial court of jurisdiction to rule on her

apportionment motion, we must reverse the court’s apportionment order.3

      2. Miller also argues that the trial court abused its discretion by awarding him

only three percent of the settlement proceeds in light of each parent’s relationship

with Sariah. However, in light of our conclusion that the court lacked jurisdiction to

rule on the motion for apportionment, we need not address the substantive merits of

the court’s order. See Smith, supra, 208 Ga. App. at 29 (2).


      3
         Our conclusion that the case was terminated and the trial court lacked
jurisdiction to rule on the apportionment motion does not necessarily foreclose a
separate proceeding regarding the distribution of the settlement proceeds.
                                          7
      In conclusion, because the case was terminated following Wilcoxson’s

voluntary dismissal of the action, the trial court lacked jurisdiction to rule on her

motion for apportionment, and we reverse the court’s order on the motion.

      Judgment reversed. Markle and Land, JJ., concur.




                                         8
